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COLORADO SUPREME COURT
Ralph L. Carr Colorado Judicial Center
2 E. 14th Avenue
Denver, Colorado 80203
__________________________________________

On appeal from the Colorado Court of Appeals
Case No. 2022 CA 0843

Denver District Court                             ▲ COURT USE ONLY ▲
Case No. 2020 CV 034319
__________________________________________        Case Number: 2024SC317

Petitioner(s): DONALD J. TRUMP FOR
PRESIDENT, INC.; SIDNEY POWELL; SIDNEY
POWELL, P.C.; JOSEPH OLTMANN; FEC
UNITED; SHUFFLING MADNESS MEDIA, INC.,
D/B/A CONSERVATIVE DAILY; JAMES HOFT;
TGP COMMUNICATIONS, LLC, D/B/A THE
GATEWAY PUNDIT; MICHELLE MALKIN;
AND ERIC METAXAS

v.

Respondent(s): ERIC COOMER, Ph.D.
__________________________________________
Attorneys for Defendant-Appellants James Hoft
and TGP Communications, LLC:
Law Offices of Randy B. Corporon
Randy B. Corporon, Reg. No. 29861
S. Parker Road, Suite 555
Aurora, Colorado 80014
Telephone: 303-749-0062
E-Mail: rbc@corporonlaw.com

Jonathon Burns, #21PHV6433
Burns Law Firm
P.O. Box 191250
St. Louis, MO 63119
Telephone: 314-329-5040
Email: TBLF@pm.me



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                       SUGGESTION OF BANKRUPTCY




      TGP COMMUNICATIONS, LLC, (the “Debtor”) hereby files this

suggestion of bankruptcy to inform the Court and all parties that the captioned

matter is stayed pursuant to 11 U.S.C. § 362, by virtue of the pendency of

proceedings styled as In re TGP COMMUNICATIONS, LLC, Case No. 24-13938-

MAM, which was filed on the 24th of April, 2024, in the United States Bankruptcy

Court for the Southern District of Florida. Although this action was filed by the

Debtor, it is an ancillary proceeding connected to the case of Donald J. Trump for

President, Inc.; Sidney Powell, P.C.; Joseph Oltmann; FEC United; Shuffling

Madness    Media,    Inc.,   D/B/A    Conservative    Daily;    James    Hoft;   TGP

Communications, LLC, D/B/A The Gateway Pundit; Michelle Malkin; and Eric

Metaxas v. Eric Coomer, Case No. 2024SC317, pending in the Colorado Supreme

Court, and Eric Coomer v. Donald J. Trump for President, Inc., et al, Case No.

2020 CV 034319, pending in Denver District Court, State of Colorado, each of

which have been stayed under the Bankruptcy Code.

      This Suggestion of Bankruptcy does not constitute a general appearance for

the Debtor or the assertion of affirmative relief in this case by undersigned counsel.
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Dated: June 24, 2024
                                   HOUSTON RODERMAN PLLC
                                   Counsel for Debtor
                                   633 S. Andrews Avenue, Suite 500
                                   Fort Lauderdale, Florida 33301
                                   Telephone: (954) 900-2615
                                   Primary Email: bhouston@thehoustonfirm.com
                                   Secondary Email: dschena@thehoustonfirm.com

                             By:   /s/ Bart A. Houston _______________
                                   Bart A. Houston, Fla. Bar No. 623636
                                   Primary Email: bhouston@thehoustonfirm.com
                                   Secondary Email: dschena@thehoustonfirm.com
                                   Alexander G. Lewitt, Fla. Bar No. 1048121
                                   Primary Email: alewitt@thehoustonfirm.com
                                   Secondary Email: dschena@thehoustonfirm.com


                                   /s/ Randy B. Corporon
                                   Randy B. Corporon, Esq.
                                   Law Office of Randy B. Corporon, P.C.
                                   2821 S. Parker Road, Suite 555
                                   Aurora, Colorado 80014
                                   Telephone: 303-749-0062
                                   E-Mail: rbc@corporonlaw.com


                                   Jonathon Burns, #21PHV6433
                                   Burns Law Firm
                                   P.O. Box 191250
                                   St. Louis, MO 63119
                                   Telephone: 314-329-5040
                                   Email: TBLF@pm.me
                                   (Attorneys for Appellants Hoft and TGP
                                   Communications LLC dba The Gateway Pundit)




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                         CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of June, 2024, a true and correct copy
of the above and foregoing was served upon the following via Colorado Courts E-
Filing:

Barry K. Arrington, Esq.                       Charles J. Cain, Esq.
Arrington Law Firm                             Bradley A. Kloewer, Esq.
3801 E. Florida Avenue, Suite 830              Zachary H. Bowman, Esq.
Denver, Colorado 80210                         Cain & Skarnulis PLLC
(Attorneys for Petitioners Sidney Powell       P.O. Box 1064
and Sidney Powell, P.C.)                       Salida, Colorado 81201
                                               (Attorneys for Respondent)
John R. Mann, Esq.
Margaret L. Boehmer, Esq.                      Thomas M. Rogers, III, Esq.
Thomas B. Quinn, Esq.                          Mark G. Grueskin, Esq.
Gordon & Rees LLP                              Andrew E. Ho, Esq.
555 Seventeenth Street, Suite 3400             Recht Kornfeld, P.C.
Denver, Colorado 80202                         1600 Stout Street, Suite 1400
(Attorneys for Petitioner Metaxas)             Denver, Colorado 80202
                                               (Attorneys for Respondent)

Franklin D. Patterson, No. 12058
Patterson Ripplinger, P.C.
5613 DTC Parkway, Suite 400
Greenwood Village, Colorado 80111
Telephone: 303/741-4539
Facsimile: 303/741-5043
E-mail:
       fpatterson@prpclegal.com
(Attorneys for Petitioner Malkin)


CAMPBELL KILLIN BRITTAN & RAY,
LLC
John S. Zakhem
Andrew C. Nickel
                                           4
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270 Saint Paul Street, Ste. 200
Denver, CO 80206
303-322-3400
Attorney for Petitioner Donald J. Trump
For President, Inc

KENNEDYS CMK LLP
Marc S. Casarino
222 Delaware Avenue, Ste. 710
Wilmington, DE 19801
302-308-6647
Attorneys for Petitioners Sidney Powell
and Sidney Powell, P.C.


HARRIS, KARSTAEDT, JAMISON & POWERS, P.C.
Jamey W. Jamison
Dino G. Moncecchi
Mark A. Sares
10333 E. Dry Creek Road, Ste. 300
Englewood, Colorado 80112
(720) 875-9140
Attorney for Petitioners Oltmann, FEC
United, and Shuffling Madness Media, Inc.
dba Conservative Daily
                                          s/ Randy B. Corporon, Esq.
                                          Randy B. Corporon




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